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                  UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF CALIFORNIA
            BEFORE THE HONORABLE KIMBERLY J. MUELLER



UNITED STATES OF AMERICA,        No. 2:19-CR-00107-KJM

               Plaintiff,        MINUTES

     v.                          Date: March 26, 2024

RONALD YANDELL, ET AL.,          Deputy Clerk: C. Schultz

               Defendants.       Court Reporter: Abby Torres

__________________________/


Counsel for the United States:
Jason Hitt, Assistant U.S. Attorney
Ross Pearson, Assistant U.S. Attorney
David Spencer, Assistant U.S. Attorney
(Assisted by Paralegal, Kisa Osborn)


Counsel for Defendant Ronald Yandell:
Steven Kalar, Appointed Counsel
Brian Pugh, Appointed Counsel
Sean McClelland, Appointed Counsel
(Assisted by Paralegal, Richard Salinas)


Counsel for Defendant William Sylvester:
Knut Johnson, Appointed Counsel
Ashley Vasquez, Appointed Counsel


Counsel for Defendant Daniel Troxell:
Todd Leras, Appointed Counsel
(Assisted by Defense Investigator Peter Santos)
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JURY TRIAL (Day 19):
 9:10 a.m.    Attorneys present as noted above. All Defendants
              present, in custody. The Government’s case agent,
              James Bonanno, present. Outside the presence of the
              jury and the witness, the court and counsel
              discussed housekeeping matters.
 9:20 a.m.    Witness present. Jury present. The court clarified
              for the Jury, the limited purpose of Exhibit 436.
              Direct examination of the Government’s previously
              sworn witness, Samuel Keeton, continued.
              Examination conducted by Ross Pearson.
 9:48 a.m.    Cross examination began. Examination conducted by
              Mr. Johnson. Mr. Johnson reserved part of his cross
              examination.
 9:52 a.m.    Cross examination began. Examination conducted by
              Mr. Leras.
 10:30 a.m.   The court admonished and excused the jury for a
              morning break. The court excused the witness for a
              morning break. Outside the presence of the jury,
              the court and counsel discussed housekeeping
              matters.
 10:35 a.m.   The court excused all parties for a morning break.
 11:05 a.m.   Court back in session. All parties present. Witness
              present. Jury present. Cross examination of the
              Government’s witness, Samuel Keeton, continued.
              Examination conducted by Mr. Leras.
 11:13 a.m.   Cross examination began. Examination conducted by
              Mr. McClelland.
 11:50 a.m.   Mr. Johnson continued his earlier cross
              examination.
 11:52 a.m.   Redirect examination began. Examination conducted
              by Mr. Pearson.
 11:56 a.m.   Witness excused. Jury excused for a short recess.
              Outside the presence of the jury, the court and
              counsel discussed housekeeping matters.
 12:00 p.m.   All parties excused for a short recess.
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12:05 p.m.   Court back in session. All parties present. Jury
             present. The Government’s witness, Keelin Tully,
             sworn and testified on direct. Examination
             conducted by Mr. Hitt.
12:18 p.m.   Witness excused. The court admonished and excused
             the jury for an afternoon break. Outside the
             presence of the jury, the court and counsel
             discussed housekeeping matters.
12:20 p.m.   The court excused all parties for an afternoon
             break.
12:50 p.m.   Court back in session. All parties present. Jury
             present. The Government’s witness, Tammy Feryance,
             sworn and testified on direct. Examination
             conducted by Mr. Pearson.
1:03 p.m.    Cross examination began. Examination conducted by
             Mr. McClelland.
1:05 p.m.    Witness excused. The Government’s witness, Keith
             Chan, sworn and testified on direct. Examination
             conducted by Mr. Spencer. After brief testimony,
             the Government offered Mr. Chan as an expert in the
             field of controlled substance analysis.
1:15 p.m.    Mr. Johnson conducted voir dire of the witness.
1:27 p.m.    Over objection, the Government’s request was
             granted. Mr. Spencer continued his direct
             examination of Mr. Chan.
1:37 p.m.    Cross examination began. Examination conducted by
             Mr. Johnson.
1:45 p.m.    Witness excused. Direct examination of the
             Government’s previously sworn witness, Doug
             McClure, continued. Examination conducted by Mr.
             Pearson.
1:50 p.m.    After brief testimony, Mr. Pugh’s request to voir
             dire the witness was granted. Mr. Pugh conducted
             voir dire of the witness. The court and counsel
             discussed Exhibit 76A, specifically page 3.
1:55 p.m.    The court admonished and excused the jury until
             9:00 a.m. on March 27, 2024. Outside the presence
             of the jury, the court and counsel discussed
             housekeeping matters.
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 2:05 p.m.    The court took a short recess to allow the witness,
              Defendants and all attorneys except for Mr. Kalar,
              Mr. Pugh, and Mr. McClelland to be excused.
 2:15 p.m.    Court back in session with Mr. Kalar, Mr. Pugh and
              Mr. McClelland. Also present, Lucas Hennes, on
              behalf of the California Department of Corrections
              and Rehabilitation, and U.S. Marshal’s Office
              Supervisory Deputy, P. Joe McKeough. Defendant
              Yandell waived his appearance for the afternoon
              session. Outside the presence of other counsel, the
              Defendants, and the Jury, the court and counsel
              discussed matters related to trial.
 2:40 p.m.    All parties excused for evening recess. Jury Trial
              (Day 20) set for March 27, 2024 at 9:00 a.m.




ADMITTED EXHIBITS:

76, 76A, 143.1, 143.1A, 326, 327, 329, 330, 331, 332, 417, 417A,

418, 421, 421A, 429 and 430




TIME IN COURT: 4 Hours, 15 Minutes
